         Case 1:18-cv-00637-RP Document 87 Filed 01/02/19 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION
Defense Distributed, Second Amendment       §
Foundation, Inc.                            §    CIVIL NO:
                                            §    AU:18-CV-00637-RP
vs.                                         §
                                            §
Gurbir S. Grewal, Michael Feuer, Andrew
Cuomo, Matthew Denn, Josh Shapiro, Thomas
Wolf

      ORDER SETTING PRELIMINARY INJUNCTION HEARING
         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
PRELIMINARY INJUNCTION HEARING in Courtroom 4, on the Fifth Floor, United States
Courthouse, 501 West Fifth Street, Austin, TX, on Tuesday, January 15, 2019 at 10:00 AM.
All parties and counsel must appear at this hearing.

       IT IS SO ORDERED this 2nd day of January, 2019.




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                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE
